Case 6:24-cv-00271-ACC-LHP Document 5-4 Filed 02/14/24 Page 1 of 2 PageID 44




                    UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION



GENIE INVESTMENTS NV,
                                 Plaintiff,



v.                                                 Civil Action No. 6:24-cv-00271



JOSHUA WEARMOUTH, JAMES                            [Jury Trial Demanded]
WILLIAM BYRD, and NORDIC
TRUST ALLIANCE KB, LLC,
                              Defendants.



                       RULE 7.1 DISCLOSURE STATEMENT

Pursuant to Rule 7.1(a)(1) of the Federal Rules of Civil Procedure, GENIE INVESTMENTS NV,
hereby states that it has no parent corporation and that no publicly held corporation owns 10% or
more of its stock.
GENIE INVESTMENTS NV, LLC is a corporation that is incorporated in NEVADA and has its
principal place of business in Carson City, NV.




                                               1
Case 6:24-cv-00271-ACC-LHP Document 5-4 Filed 02/14/24 Page 2 of 2 PageID 45




Dated: 2-14-2024
Respectfully submitted,


/s/ Michael Faragalla
Michael Faragalla (Bar No. 1014235)
Spiegel & Utrera P.A.

1840 Coral Way Fl 4
Miami, FL 33145-2748
Telephone: (800) 603-3900, x204
Facsimile: (800) 520-7800
Email: attorneyfaragalla@amerilawyer.com
CC: litassistant@amerilawyer.com
attorneyhouda@amerilawyer.com
Attorney(s) for Plaintiff(s) Genie Investments
NV




                                                 2
